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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                  Case No. 13-cr-20790
                                                    District Judge Paul D. Borman
JOSEPH L. CARTER,

       Defendant.                      /

    ORDER DENYING DEFENDANT'S REQUEST/MOTION FOR
 COMPASSIONATE RELEASE/REDUCTION OF SENTENCE (ECF NO.
                    21, ECF NO. 26)

       Defendant Joseph Carter wrote a letter to the Court requesting

compassionate release. (ECF No. 21.) The Court appointed counsel to assist with

his letter request, that resulted in a formal Motion on October 2, 2020. (ECF No.

26.)

       The Government filed an initial Response to the letter (ECF No. 23), and

then a formal Response to the formal Motion on October 16, 2020. (ECF No. 29.)

       Defendant's letter request, as noted in the Government initial Response, did

not establish that, prior to approaching the Court, he had requested the warden at

FCI-Berlin, New Hampshire to reduce his term of imprisonment as required under

18 U.S.C. § 3582(c)(1)(A). Counsel for Defendant addressed that issue

satisfactorily, and advanced other grounds/requests in his Motion. Thus, Defendant

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has complied with the 30-day notice requirement/rejection required under §

3582(c)(1)(A).

      Defendant's Motion has advanced the following grounds for release:

      (1)    The BOP's health crisis at prisons as a result of the COVID-19
             pandemic.

      (2)    Defendant's current health condition substantially diminishes his
             ability to provide self-care in a prison environment.

      Defendant contends that the following health conditions place him at risk

(ECF No. 26, PageID 102):

      (1)    His obesity--BMI above 30: (5' 8" tall, 237 lbs. = BMI 36). (Id.)

      (2)    His race: he is a black male--"CDC data shows that the death toll for
             people of color under age 65 is twice that of white people under age
             65 in the same geographic area." (Id. at PageID 104.)

      (3)    A combination of conditions (1) and (2), listed above. (Id. at PageID
             105.)

      Defendant presents a release plan to return to Detroit to live with his sister,

who has no criminal history and is currently employed as a factory worker.

      Defendant cites to his rehabilitation while in prison; he has taken a piano

class as well as a personal development class (Seven Habits on the Inside). (Id. at

PageID 110.) He has completed his GED. (ECF No. 26-4, PageID 123.)

      Defendant asserts he has only received one ticket while incarcerated--for

alcohol--in 2014, shortly after he began his sentence. (Id.) The Court's examination

of Defendant's Exhibit H (ECF No. 26-5), indicates that BOP records establish that
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on February 16, 2020, he illegally possessed heroin at FCI-Berlin. (ECF No. 26-5,

PageID 125.)

      Finally, Defendant asserts that he has served more than half of his cumulative

sentence--83 months-- almost seven years, which, under the 18 U.S.C. § 3553(a)

factors, he contends satisfies the seriousness of the offense category, and the

deterrent to others considering similar offense category, in § 3553(a)(2)(B).

       The Government Response in Opposition discusses the bases for

Defendant's current imprisonment: two separate, serious Federal cases:

      (a)    Bank robbery, 13-cr-20790.

      (b)    Hobbs Act robbery and brandishing a firearm during and in relation to
             a crime of violence (§ 924(c), Case No. 14-20005).

(ECF No. 29, PageID 129.) Carter pled guilty simultaneously to both charges and

was sentenced "to 57 months in prison for the bank robbery, and to 84 months

consecutive for the 924(c) charge. (R. 20: Judgment in Case No. 13-20790, 80; R.

11: Judgment in Case No. 14-20005, 45)." (ECF No. 29 at PageID 129.)

      As to Defendant's criminal history, the Government further notes:

             Mr. Carter was 26 years old when he committed the
             crimes…he is now 33 years old. He started committing
             crimes when he was just 15 years old.

(Id. at PageID 129.)




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        The Government discussion of the instant offenses elaborated:

              The crimes in this case were violent and dangerous. (PSR
              ¶¶ 10-15.) In both instances, Carter assaulted his victims
              with a handgun. In the first case he pointed his weapon at
              a bank teller while robbing her. In the second case, Carter
              not only pointed a weapon at a store clerk, but he beat
              him over the head with the gun after the clerk heard
              Carter pull the trigger. Later, Carter laughed and smiled
              as he recounted how he beat the clerk over the head. (Id.)

(Id. at PageID 130.)

        The Government Response further noted that the instant crimes were not

aberrant behavior:

              Carter's actions were nothing new…

              Indeed, the facts surrounding each of Carter's prior adult
              convictions were just as disturbing as the facts of this
              case. See, PSR ¶ 38, PSR ¶ 39.

        The Government further notes that Carter began serving his current sentence

July 23, 2014 (receiving credit for pretrial time-served). (ECF No. 29, PageID

131.)

        With regard to Defendant's claim regarding "extraordinary and compelling

reasons," under Guideline § 1B1.13(1)(A), the Government notes that those

reasons can only be considered after the Court considers the factors set forth in 18

U.S.C. § 3553(a). The Government further asserts that even if the "extraordinary

and compelling reasons" were to be considered, there is no evidence that he is

presently suffering from a serious medical condition (obesity) that substantially
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diminishes his ability to provide self-care and from which he is not expected to

recover. (Guideline 1B1.13 app. n.1(A)(ii)(I).)

      The Government further contends, that from its point of view, application of

the 18 U.S.C. § 3553(a) factors "do not support release because Carter needs to be

appropriately punished and deterred, and the public needs to be protected from

Carter's unending propensity for engaging in violent and dangerous criminal

activity." (Id. at PageID 132.)

      With regard to Defendant's allegations that the BOP has not taken significant

steps to protect all inmates, including Carter, from COVID-19, the Government

notes that the United States Court of Appeals for the Sixth Circuit concluded in

Wilson v. Williams, 961 F.3d 829, 833-34 (6th Cir. 2020), that the BOP has

implemented an increasingly strict protocol to minimize the virus's spread in its

facilities, and further that as of October 13, 2020, the BOP has determined that

release to home confinement is appropriate for 7,780 inmates who pose the least

danger to public safety. (Id. at PageID 133.)

      The Government notes that "Carter began serving his prison sentence on

July 23, 2014 (receiving credit for pretrial detention), and is currently incarcerated

at FCI-Berlin, a facility that has experienced, as of October 14, 2020, just five

cases since the beginning of the pandemic (four current). He is 33 years old and his

projected release date is January 11, 2024." (Id. at PageID 134-135.)

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                                   DISCUSSION

      The Court finds that Defendant Joseph Carter has complied with the

exhaustion requirement in 18 U.S.C. § 3582(c)(1)(A).

      The Court finds that Defendant has not established "extraordinary and

compelling reasons" for compassionate release. His sole medical condition issue is

obesity--a BMI of 36 based on 5' 8" height and 237 pounds. This does not, by

itself, establish a basis for reduction in term of imprisonment release under

Sentencing Guideline § 1B1.13 for multiple reasons:

      (1)    He is not suffering from a serious medical condition that substantially
             diminishes his ability to provide self-care within a prison, and this is
             not a condition from which he is not expected to recover, cmt. app.
             n.1(A)(ii).

      (2)    That Guideline requires, prior to consideration of medical conditions,

             (a)   That the Court consider the factors set forth in § 3553(a).

             (b)   That the Court determines that Defendant is not a danger to the
                   safety of the community, as provided in 18 U.S.C. § 3142(g).

      The Court finds that Defendant Carter fails to satisfy both prerequisites. His

conduct in the instant case and his criminal history establish that he is and has been

a violent criminal, § 3553(a)(1); that there is a need for him to continue serving

this sentence to promote respect for the law and to provide just punishment for his

offenses (§ 3553(a)(2)), to afford adequate deterrence to criminal conduct by him,

and others that would seek to emulate him (§ 3553(a)(2)(A), (B), and (C)), and to

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protect the public from further serious crimes by Defendant Carter. The Court also

notes that Defendant's criminality has continued this year in prison when, in

February, he admitted possession of heroin. (ECF No. 26-5, Exhibit 4, PageID

125.)

        Finally, the Court concludes, under 18 U.S.C. § 3142(g), that there is no

condition or combination of conditions that would protect the public from further

serious criminality by Defendant Carter.

                                   CONCLUSION

        For the reasons discussed above, the Court DENIES Defendant's Motion for

compassionate release.

        SO ORDERED.

DATED: November 9, 2020                 s/Paul D. Borman
                                        PAUL D. BORMAN
                                        UNITED STATES DISTRICT JUDGE




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